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AO 442 (Rev 01/09) Arrest Warrant TL \ 1S S 16 4 CZ

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

v. ) Case: 1:23-cr-00182
TIMOTHY MARTIN Assigned to: Judge Berman Jackson, Amy.
JOANNA SMITH ) Assign Date: 5/24/2023
_ e _—+):~ Description: INDICTMENT (B)
Defendant
ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED 1o arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) JOANNA SMITH = :
who is accused of an offense or violation based on the following document filed with the court:

@ Indictment © Superseding indictment 0 information © Superseding Information © Complaint
O Probation Violation Petition O Supervised Release Violation Petition O Violation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 371 (Conspiracy to Commit an Offense Against the United States)
40 U.S.C. §§ 6303, 6307 (Injury to National Gallery of Art Property)

f Digitally signed by Robin M.
Rob In M. Meriweather
Date: 2023.05.24 16:26:07

Meriweather creo

Issuing officer's signature

Date: 05/24/2023

 

City and state: | Washington, DC ROBIN M. MERIWEATHER, U.S. Magistrate Judge

Printed name and title

 

Return

 

This warrant was received on (date) x 24 foes , and the person was arrested on (dare) £26 -Zo27

at (city and state) D Cc p é
Date: Sbe/eoer ES

: Arresting officer 's signature

Bree A ov tion Defon wet Pept

Printed name and title

 

 

 
